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         ORDERED in the Southern District of Florida on November 8, 2018.




                                                               Erik P. Kimball, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________

                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                      WEST PALM BEACH DIVISION

        In re:

        160 Royal Palm, LLC,                                 Case No. 18-19441-EPK

        Debtor.                                              Chapter 11
        ____________________________________/

            AMENDED ORDER GRANTING DEBTOR’S MOTION FOR THE ENTRY OF
           AN ORDER (I) APPROVING BID PROCEDURES AND BID PROTECTIONS IN
          CONNECTION WITH THE SALE OF SUBSTANTIALLY ALL OF ITS ASSETS, (II)
         APPROVING THE FORM AND MANNER OF NOTICE OF SALE, (III) SCHEDULING
          AN AUCTION AND SALE HEARING AND (IV) APPROVING THE SALE OF THE
             ASSETS FREE AND CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES

                 THIS MATTER came before the Court for hearing on October 10, 2018, upon the

        motion of 160 Royal Palm, LLC (the “Debtor”) seeking an entry of an order (I) approving bid

        procedures and bid protections in connection with the sale of substantially all of its assets, (II)

        approving the form and manner of notice of sale, (III) scheduling an auction and sale hearing and

        (IV) approving the sale of the assets free and clear of liens, claims and encumbrances (the




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“Motion”) [ECF No. 92]. The Court, having reviewed the Motion, having heard the arguments

of counsel, and being otherwise fully advised in the premises, hereby:1

        FINDS AND DETERMINES THAT:

        A.       The Court has jurisdiction over this matter and over the property of the Debtor

pursuant to 28 U.S.C. §§ 157(a) and 1334, venue is proper in this district pursuant to 28 U.S.C. §

1408, and this is a core proceeding pursuant to 28 U.S.C. § 157(b).

        B.       Good and sufficient notice of the relief sought in the Motion has been given in

accordance with Bankruptcy Rule 2002, and no other or further notice is or shall be required. A

reasonable opportunity to object or be heard regarding the relief requested in the Motion has been

afforded to all parties-in-interest.

        C.       The sale procedures set forth herein (the “Sale Procedures”) and proposed notice

set forth in the Motion are appropriate, and reasonably calculated to provide all interested parties

with timely and proper notice thereof.

        D.       The Sale Procedures set forth herein are fair, reasonable and appropriate, and are

designed to maximize the recovery on the proposed sale of the Assets.2

        E.       The bidding and sale process described in the Motion is fair and reasonable, and

designed to fully expose the Assets to the market.

        F.       The entry of this Order is in the best interests of the Debtor, its estate, creditors,

and all other parties-in-interest.

        ORDERS AND ADJUDGES THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The Sale Procedures set forth herein are hereby APPROVED.

1
  This amended order is entered to revise the Bid Deadline, the date of the Auction and Sale Hearing, and the
deadline for the Sale Order to be entered under the Stalking Horse APA. The foregoing capitalized terms have the
definitions provided below or in the Motion.
2
  Capitalized terms not defined herein shall have the definitions provided for in the Motion.
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       3.         The Debtor is hereby AUTHORIZED to consummate and carry out the actions

reasonably necessary to consummate and carry out the Sale Procedures and Auction.

       4.         The form of the asset purchase agreement (“Form APA”) filed by the Debtor

under a notice of filing on October 8, 2018 [ECF No. 105] is approved, subject to the terms of

the sale procedures set forth herein, and provided that section 12.1 of the Form APA is modified

to provide that the buyer shall pay for real property taxes and assessments for the 2018 tax year,

and 2019 tax year (if applicable), through the closing, except that such buyer shall be entitled to

receive a closing credit for taxes in the amount of $50,000.

       5.         The findings and conclusions set forth above constitute the Court’s findings of

fact and conclusions of law pursuant to Bankruptcy Rule 7052.

       6.         The Sale Procedures with respect to the Auction and the sale of the Assets are as

follows:

            i.    Participation Requirements: Unless otherwise ordered by the Court, in order to
                  participate in the bidding process, an interested bidder must, no later than 5:00
                  p.m. on December 7, 2018 (the “Bid Deadline”):

                     a. wire into the trust account of Greenberg Traurig, P.A. (the “Initial Deposit
                        Agent”), an escrow deposit of ten percent (10%) of the purchase price,
                        pursuant to the wire instructions attached hereto as EXHIBIT A, to be held
                        by the Initial Deposit Agent pending the outcome of the selection by the
                        Debtor, and approval by the Court, of the Successful Bidder and Back-Up
                        Bidder, and then pursuant to the terms of the applicable asset purchase
                        agreement in the event a Qualified Bidder is the Successful Bidder or
                        Back-Up Bidder;

                     b. submit to the Broker, Shraiberg, Landau & Page, P.A. and Greenberg
                        Traurig, P.A. on or before the Bid Deadline: (A) a fully executed asset
                        purchase agreement substantially in the form of the Form APA to be
                        provided by the Debtor (the effectiveness of such Form APA being
                        contingent only upon the Qualified Bidder becoming the Successful
                        Bidder pursuant to these procedures, subject only to Bankruptcy Court
                        approval, with no due diligence or financing contingencies), with a
                        purchase price of not less than Thirty Two Million Five Hundred
                        Thousand and No/100 ($32,500,000.00), and (B) a black-lined version of
                        the APA to show any changes made by such potential bidder; provided
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                       that, an asset purchase agreement proposing any material change to the
                       Form APA provided by the Debtor may be rejected by the Debtor in its
                       sole business judgment; and

                   c. submit to the Broker and Shraiberg, Landau & Page, P.A. on or before the
                      Bid Deadline such financial disclosures and documentation which
                      demonstrate, in the Debtor’s sole business judgment, the potential bidder’s
                      financial and other capabilities to consummate the sale.

                A person who timely complies with these requirements shall have submitted a
                “Qualified Bid” and shall be deemed a “Qualified Bidder”. The list of Qualified
                Bidders will not be shared with anyone prior to the Auction. The Stalking Horse
                Bidder shall be deemed a Qualified Bidder.

         ii.    Waiver of Conflicts: Any person who has submitted a Qualified Bid shall be
                deemed to have waived any right to claim there is a conflict with respect to an
                unrelated transaction for which such person has employed the law firm of
                Greenberg Traurig, P.A., and the Debtor’s employment of Marcia H. Langley and
                the law firm of Greenberg Traurig, P.A. as the Initial Deposit Agent, real estate
                transaction counsel and title agent for the sale of the Assets, and related
                transactions contemplated herein.

        iii.    Auction: In the event the Debtor receives a timely Qualified Bid, the Debtor will
                conduct an auction (the “Auction”). The Auction shall take place on December
                14, 2018 beginning at 10:00 a.m., at the United States Bankruptcy Court, Flagler
                Waterview Building, 1515 North Flagler Drive, 8th Floor, Courtroom B, West
                Palm Beach, Florida 33401. In the event the Debtor does not receive a timely
                Qualified Bid, the Debtor will seek final approval of the sale to the Stalking Horse
                Bidder at the Sale Hearing on December 14, 2018.

        iv.     Auction Procedures: At the Auction, the Debtor will identify the Qualified Bid
                which shall serve as the opening bid.

                   a. All Qualified Bidders shall be entitled to make any subsequent bids in
                      increments of not less than $50,000 (a “Subsequent Bid”). Bidding at the
                      Auction shall continue until such time as the highest or best offer is
                      determined by the Debtor in the exercise of its sole business judgment.
                      The Debtor reserves the right to modify the bidding increments or
                      announce at the Auction additional procedural rules for conducting the
                      Auction in its sole business judgment.

                   b. For the purpose of evaluating the value of the consideration provided by
                      Subsequent Bids (including any Subsequent Bid by the Stalking Horse
                      Bidder), the Debtor will, at each round of bidding, give effect to the
                      Break-Up Fee that may be payable to the Stalking Horse Bidder.


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                   c. Each Qualified Bidder’s offer shall be irrevocable until the selection of the
                      Successful Bidder and, if applicable, the Back-Up Bidder (as set forth in
                      the asset purchase agreement), provided that if such bidder is selected as
                      the Successful Bidder or the Back-Up Bidder, its offer shall remain
                      irrevocable until the of closing of the sale to the Successful Bidder or the
                      Back-Up Bidder.

         v.     Broker’s Commissions: All broker commissions shall be in accordance with the
                terms and conditions of the Broker Engagement Order. Other than as set forth in
                the Broker Engagement Order, the Debtor’s bankruptcy estate shall not be liable
                for any commissions.

        vi.     Successful Bid: After the conclusion of the Auction, the Debtor shall submit the
                highest or best bid that has been accepted (the “Successful Bid”) for approval by
                the Bankruptcy Court at the United States Bankruptcy Court, Flagler Waterview
                Building, 1515 North Flagler Drive, 8th Floor, Courtroom B, West Palm Beach,
                Florida 33401 on December 14, 2018 following the Auction (the “Sale Hearing”).
                The Qualified Bidder who has the Successful Bid presented for approval to the
                Court shall be referred to as the “Successful Bidder.”

       vii.     Closing Date. The closing of the transaction (the “Closing”) shall take place on or
                before twenty (20) calendar days after the order approving the sale is entered (the
                “Sale Order”) and becomes final and non-appealable (the “Closing Date”), subject
                to the terms of the applicable asset purchase agreement. The Successful Bidder
                must be prepared and must in fact consummate the purchase of the Assets in
                accordance with applicable asset purchase agreement.

       viii.    Back Up Bid. Upon the failure of the Successful Bidder to consummate the
                closing of the purchase of the Assets because of a breach or failure on the part of
                the Successful Bidder, then the Debtor may elect in its business judgment to close
                with the next highest or otherwise best Qualified Bidder to be the Successful
                Bidder (the “Back Up Bidder”). At the Sale Hearing, the Debtor intends to seek
                approval from the Court for the next highest or best bid (the “Back Up Bid”),
                which approval shall authorize the Debtor to consummate the Back Up Bid
                immediately after a default under the Successful Bid without further order of the
                Court. Promptly following the conclusion of the Sale Hearing, the Debtor shall
                return the deposits to each unsuccessful Qualified Bidder (except the Back Up
                Bidder whose deposit shall either be returned upon the closing of the sale to the
                Successful Bidder or applied to the purchase price in a closing with such Back Up
                Bidder).

        ix.     As is/where is: The Assets will be sold in its “as is”, “where is” condition and
                with all faults, with no guarantees or warranties, express or implied.

         x.    Credit Bidding: Subject to the limitations requested by the Debtor discussed
               below and as may be ordered by the Court after the October 24, 2018 hearing on
               the Debtor’s Motions to Limit Credit Bids with Respect to Sale of Substantially
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               All Its Assets [ECF No. 103], only holders of allowed valid secured claims (that
               are otherwise Qualified Bidders) are permitted to credit bid at the Auction;
               provided that, in the event any person submits a permitted credit bid and is the
               Successful Bidder and/or Back Up Bidder, such person shall provide for the
               payment of the Break-Up Fee, and any commission due to the Broker, in cash on
               the Closing Date. No party shall be permitted or entitled to credit bid, or attempt
               to credit bid, any alleged obligation of the Debtor that the Debtor asserts
               constitutes, or will constitute at some point, a contingent, unliquidated or disputed
               claim against the Debtor. The Debtor reserves all rights to contest the propriety of
               any credit bid pursuant to § 363(k) and § 105 of the Bankruptcy Code.

        xi.    Initial Deposit Agent Provisions.

                  a. The Initial Deposit Agent shall hold all deposits received from any person
                     until after the conclusion of the Sale Hearing. If, after the conclusion of
                     the Sale Hearing, a person is not selected and approved as the Successful
                     Bidder or Back-Up Bidder, the Initial Deposit Agent shall return the
                     deposited funds to each person who provided the deposit. If a person is
                     the Successful Bidder or Back-Up Bidder, the Initial Deposit Agent shall
                     transfer such party’s deposit to Chicago Title Insurance Company, the
                     Deposit Agent under the applicable asset purchase agreement, who shall
                     continue to hold such person’s deposit pursuant to the terms of the
                     applicable asset purchase agreement.

                  b. If conflicting demands relating to a deposit are made upon the Initial
                     Deposit Agent, the Initial Deposit Agent shall have the absolute right to do
                     either or both of the following: (A) withhold and stop all actions in
                     performance of the escrow and await settlement of the controversy by final
                     appropriate legal proceedings or as otherwise mutually directed in writing
                     by the person providing the deposit and the Debtor; or (B) file suit in
                     declaratory relief or interpleader and obtain an order from the Bankruptcy
                     Court requiring the person who provided the deposit and the Debtor to
                     interplead and litigate in such court their several claims and rights amongst
                     themselves. Upon the filing of any such declaratory relief or interpleader
                     suit and depositing with the Court the relevant funds, the Initial Deposit
                     Agent shall thereupon be fully released and discharged from any and all
                     obligations to further perform the duties or obligations imposed upon it
                     under this Order with respect to such funds.

                  c. In no event shall the Initial Deposit Agent be liable for any act or omission
                     under or in respect of the deposits held under this Order except where
                     Initial Deposit Agent’s acts or omission is the result of its gross negligence
                     or willful misconduct. Accordingly, the Initial Deposit Agent shall not
                     incur any liability with respect to (A) any action taken or omitted in good
                     faith, including upon advice of its legal counsel given with respect to any
                     questions relating to the duties and responsibilities of the Initial Deposit
                     Agent under this Order, or (B) any action taken or omitted in reliance on
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                       any instrument, not only as to its due execution and the validity and
                       effectiveness of its provisions, but also as to the truth and accuracy of any
                       information contained therein, which Initial Deposit Agent shall in good
                       faith believe to be genuine, to have been signed or presented by a person
                       or persons having authority to sign or present such instrument, and to
                       conform with the provisions of the applicable asset purchase agreement
                       and this Order.

       7.      The Debtor is authorized to act in accordance with the Sale Procedures, which

shall be binding upon all parties-in-interest in these cases.

       8.      KK-PB Financial, LLC reserves the right to credit bid at the Auction, subject to

further hearing and the Court’s determination with respect to the Debtor’s Motion to Limit Credit

Bids with Respect to Sale of Substantially All of its Assets [ECF No. 103], and Secured Creditor

KK-PB Financial, LLC’s Motion to Estimate Claim for Purposes of Credit Bidding Pursuant to

11 U.S.C. §§ 502(c) and 363(k) [ECF No. 133].

       9.      The Asset Purchase Agreement (the “Stalking Horse APA”) entered into between

the Debtor and the RREF II Palm House LLC (the “Stalking Horse Bidder”) is approved, subject

to the modifications herein, the Sale Hearing and entry of the Sale Order.

       10.     Section 9.2 of the Stalking Horse APA is deleted and replaced with the following:

“the Sale Order shall have been entered by the Bankruptcy Court on or before January 2, 2019.”

       11.     Subject to the Sale Hearing and entry of the Sale Order, as set forth in section

11.5 of the Stalking Horse APA, the Stalking Horse Bidder shall pay, on the Closing Date, all

costs of Closing, and as set forth in section 12.1 of the Stalking Horse APA and as such section

is modified herein, the Stalking Horse Bidder shall pay for real property taxes and assessments

for the 2018 tax year, except that the Stalking Horse Bidder shall be entitled to receive a closing

credit for taxes in the amount of $50,000.

       12.     The Debtor and Stalking Horse Bidder further agree that section 8.4 of the

Stalking Horse APA is modified as follows:

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       Break-Up Fee. In the event Buyer is not in default hereunder and has not
       terminated this Agreement pursuant to the terms hereof and is ready, willing, and
       able to close on the purchase of the Assets, if Seller accepts an offer to sell all or
       any portions of the Assets to another buyer (“Alterative Buyer”), which sale is
       approved by the Bankruptcy Court in the Bankruptcy Case, and such transaction
       closes, then Seller agrees that Buyer shall be entitled to receive Three Hundred
       Fifty Thousand and No/100 Dollars ($350,000.00) as a break-up fee to reimburse
       Buyer for the value of its time, costs, and expenses incurred in connection with
       this transaction, including Buyer’s agreement to serve and participate as the
       “stalking horse” bidder under the Sale Procedures Order (the “Break-Up Fee”).
       The Break-Up Fee shall be entitled to status as a super-priority administrative
       expense and shall be secured by a lien on the deposit of the Alternative Buyer or
       the closing proceeds in the event the transaction with the Alternative Buyer
       closes, and, except in the event of a credit bid, shall be paid solely and exclusively
       from such forfeited deposit or closing proceeds. Any sums becoming payable to
       Buyer pursuant to this Section 8.4 shall be paid to Buyer promptly after the
       closing with any such Alternative Buyer approved in the Bankruptcy Case or, if
       applicable, promptly after the deposit on such transaction is forfeited.

       13.     The Break-Up Fee in the amount of Three Hundred Fifty Thousand and No/100

Dollars ($350,000.00) set forth in the Stalking Horse APA is approved as set forth therein and

modified by this Order.

       14.     The Overbid Protection set forth in the Stalking Horse APA is approved, and if

the Stalking Horse Bidder has not terminated or materially breached the Stalking Horse APA, the

Debtor agrees not to accept any offers from an Alternative Buyer unless such offer is at least

Thirty Two Million Five Hundred Thousand and No/100 ($32,500,000.00).

       15.     The Debtor is authorized and permitted to sell the Assets to the highest or best

bidder following the Auction, free and clear of all liens, claims and encumbrances, including

without limitation mortgages, pledges, charges, liens, debentures, trust deeds, claims,

assignments by way of security or otherwise, security interests, and conditional sales contracts or

other title retention agreements or similar interests or instruments charging, or creating a security

interest in the Assets or any part thereof or interest therein (including notices or other

registrations in respect of any of the foregoing) affecting title to the Assets or any part thereof or


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interest therein (collectively, the “Liens”), with such Liens to attach to the proceeds of the sale of

the Assets in the order of their priority, with the validity, force and effect that they had as of the

Petition Date, if any, against the Assets, subject to the rights, claims, defenses and objections of

the Debtor and all interested parties with respect to such liens, so that the purchaser of the Assets

shall take the Assets free of all Liens. The Liens include without limitation, the interests held by

the following parties:

          i.      Palm House LLC, by reason of being the sole member of 160 Royal Palm LLC,
                  and by reason of Palm Beach County Circuit Court Case No. 15-14228;

          ii.     Ryan Black, by reason of any interest in 160 Royal Palm LLC, by reason of Palm
                  Beach County Circuit Court Case No, 14-12824, and by reason of Palm Beach
                  County Circuit Court Case No. 15-14228;

          iii.    Gerry Matthews, by reason of any interest in 160 Royal Palm LLC, by reason of
                  Palm Beach County Circuit Court Case No, 14-12824, and by reason of Palm
                  Beach County Circuit Court Case No. 15-14228;

          iv.     Robert V. Matthews, by reason of any interest in 160 Royal Palm LLC;

          v.      Joseph J. Walsh, Sr., by reason of any interest in Palm House Hotel LLLP;

          vi.     KK PB Financial LLC, a Florida limited liability company, by reason of the
                  Florida Real Estate Mortgage, Assignment of Leases and Rents and Security
                  Agreement recorded in Official Records Book 26694, Page 1420; and
                  Foreclosure Case 14-11203;

          vii. Palm House Hotel, LLLP, a Florida limited liability company, by reason of the
               Mortgage and Security Agreement recorded in Official Records Book 27103,
               Page 129; and Case 14-14382 and Case 15-14480;

          viii. James F. Biagi, P.E., by reason of Default Final Judgment filed in the Circuit
                Court of the 17th Judicial Circuit in and for Broward County, Florida, under case
                No. CACE 15-005370 (08) recorded in Official Records Book 27660, Page
                1139;

          ix.     Richard's Woodwork, Inc., a/k/a RFW Cabinetry and Millwork, a Florida profit
                  corporation, by reason of Final Judgment on Default for Plaintiff filed in the
                  Circuit Court of the 15th Judicial Circuit in and for Palm Beach County, Florida,
                  under case No. 2015CA004303 AB, recorded in Official Records Book 27702,
                  Page 1461;


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          x.     David Campanaro by reason of Final Judgment filed in the Circuit Court of the
                 15th Judicial Circuit in and for Palm Beach County, Florida, under case No.
                 2015CA005120XXXMBAF, recorded in Official Records Book 28122, Page
                 196;

          xi.    Place For Tile, Inc., by reason of Final Default Judgment Against Defendant 160
                 Royal Palm, LLC, filed in the Circuit Court of the 15th Judicial Circuit in and for
                 Palm Beach County, Florida, under case No. 2015CA002935XXXXMB,
                 recorded in Official Records Book 28517, Page 1307 and in Official Records
                 Book 29606, Page 1097;

          xii. TWG Enterprises Waterproofing & Painting, Inc., by reason of Final Judgment
               filed in the Circuit Court of the 15th Judicial Circuit in and for Palm Beach
               County, Florida, under case No. 2015CA012471XXXXMB, recorded in Official
               Records Book 28038, Page 734;

          xiii. Van Linda Iron Works, Inc., a Florida corporation, by reason of Amended
                Default Final Judgment filed in the Circuit Court of the 15th Judicial Circuit in
                and for Palm Beach County, Florida, under case No. 2015CA013194XXXMB,
                recorded in Official Records Book 28140, Page 1634;

          xiv. New Haven Contracting South, Inc., by reason of Final Default Judgment
               Against Defendant 160 Royal Palm, LLC, filed in the Circuit Court of the 15th
               Judicial Circuit in and for Palm Beach County, Florida, under case No.
               2015CA013244XXXXMB, recorded in Official Records Book 28877, Page 790;

          xv. Architectural Precast & Foam, LLC, by reason of Final Judgment of Foreclosure
              After Default recorded in Official Records Book 28560, Page 1512, and by
              reason of Final Judgment for Attorney's Fees and Costs recorded in Official
              Records Book 28560, Page 1510, and by reason of Consent Final Judgment for
              Post-Judgment Attorney's Fees and Costs Pursuant to Fla. Stat. 57.115 recorded
              in Official Records Book 28935, Page 975, all under case No.
              2015CA014459XXXXMB, in the Circuit Court of the 15th Judicial Circuit in
              and for Palm Beach County, Florida;

          xvi. Xpert Elevator Services, Inc., by reason of the Claim of Lien Renewal recorded
               in Official Records Book 29442, Page 819, which renewed that certain Claim of
               Lien Renewal recorded in Official Records Book 28682, Page 78, which
               renewed that certain Claim of Lien Renewal recorded in Official Records Book
               27916, Page 492, which renewed that certain Claim of Lien recorded in Official
               Records Book 27194, Page 1278;

          xvii. Securities and Exchange Commission by reason of United States District Court,
                Southern District of Florida, West Palm Beach Division Case No. 18-81038;

          xviii. Edward A. Marod, Esq., attorney for Lan Li, et al, interested parties, as more
                 particularly set forth in the Notice of Appearance and Request for Service in
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                United States Bankruptcy Court, Southern District of Florida, West Palm Beach
                Division Case No. 18-19441, Docket Entry 31.; and as identified in action
                pending in U.S. District Court Case No. 16-81871;

          xix. Maria Titova, as purported member of Palm House Hotel LLLP, the holder of a
               mortgage encumbering the subject property, per Palm Beach County Circuit
               Court Case No. 16-12723;

          xx. The Town of Palm Beach by reason of action by 160 Royal Palm LLC against
              the Town of Palm Beach seeking extension of development permits in Palm
              Beach County Circuit Court Case No, 12-23613; and

          xxi. Daniel Gorman, as to any interest disclosed by Memorandum of Understanding
               Agreement recorded in Official Records Book 27522 Page 958.

       16.     The Auction will be held December 14, 2018 at 10:00 a.m. at the United States

Bankruptcy Court, Flagler Waterview Building, 1515 North Flagler Drive, 8th Floor, Courtroom

B, West Palm Beach, Florida 33401. The Auction may be adjourned or rescheduled without

notice other than by an announcement of such adjournment at the Auction.

       17.     The Sale Hearing to consider final approval of the sale of the Assets will be held

immediately following the Auction on December 14, 2018 at the United States Bankruptcy

Court, Flagler Waterview Building, 1515 North Flagler Drive, 8th Floor, Courtroom B, West

Palm Beach, Florida 33401. The Sale Hearing may be adjourned or rescheduled without notice

other than by an announcement of such adjournment at the Sale Hearing.

       18.     Objections, if any, to the proposed sale, must: a) be in writing, b) set forth the

nature of the objector’s claims against or interest in the Debtor’s estates, and the basis for the

objection and the specific grounds therefore; c) comply with the Bankruptcy Rules and the Local

Bankruptcy Rules for the Southern District of Florida and all Orders of this Court; d) be filed

with the Court and served upon the Debtor, the Stalking Horse Bidder, and the United States

Trustee for the Southern District of Florida, so as to be received no later than 5:00 p.m. two (2)

business days prior to the Sale Hearing (the “Objection Deadline”). Only timely filed and served

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responses and objections will be considered by the Court during the Sale Hearing. The failure of

any person or entity to timely file its objection shall be a bar to the assertion, at the Sale Hearing

or thereafter, of any objection to the Motion, the proposed sale or the consummation and

performance with respect to the proposed sale.

       19.     The Debtor has served the Motion on the Debtor, all creditors and the Office of

the United States Trustee. The Debtor shall serve this Order upon all creditors and interested

parties. The foregoing form and manner of notice of the Auction and proposed sale is approved.

       20.     As required under the Stalking Horse APA, the Debtor will publish notice of the

proposed sale free and clear of all Liens pursuant to Section 363(f) of the Bankruptcy Code, with

such Liens attaching to the sale proceeds in the Palm Beach Post not less than once per week for

two consecutive weeks. Such publication notice will set forth the time, date and place of the

Auction and Sale Hearing.

       21.     Notice of the Sale Procedures, the Auction, the Sale Hearing and the remainder of

the relief requested in the Motion, as described in the Motion, shall be good and sufficient notice

thereof, and any requirements for other or further notice shall be waived and dispensed with

pursuant to Bankruptcy Rules 2002, 6004, 6006 and 9007 and pursuant to the Court’s powers

under section 105 of the Bankruptcy Code.

       22.     Any stays that may be imposed by Rule 6004(h) of the Federal Rules of

Bankruptcy Procedure with respect to the Motion are waived.

       23.     The Court shall retain jurisdiction over any matter or dispute arising from or

relating to the implementation of this Order.

                                                ###




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Submitted by:

Philip J. Landau
Counsel for the Debtor
2385 N.W. Executive Center Drive, Suite 300
Boca Raton, Florida 33431
Telephone: (561) 443-0800
Facsimile: (561) 998-0047

Copy to: Philip J. Landau, Esq., 2385 NW Executive Center Dr., Suite 300, Boca Raton, FL 33431. [Attorney
Landau is directed to serve a copy of this Order upon all interested parties.]




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            EXHIBIT A
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                              WIRING INSTRUCTIONS
                               Wells Fargo Bank, N.A.
                             GREENBERG TRAURIG, P.A.
                                TRUST ACCOUNT
                                         (Boca Office)



                      TO:    Wells Fargo Bank, N.A.
                             200 S. Biscayne Boulevard, 15th Floor
                             Miami, FL 33131
                             ABA# 121000248

                       International Swift: WFBIUS6S

                      FOR CREDIT TO: Greenberg Traurig IOLTA Account
                                     Miami, FL
                                     Account No. 20000 1610 9896

                      REFERENCE:

                      CLIENT NAME:__Glickstein/160 Royal Palm LLC____
                      FILE NUMBER: ____177441.010100________________
                      ATTORNEY NAME: ____Marcia Langley__________




NOTE: PLEASE NOTIFY NATALIE ADOLPHE at GT 561-955-7687, ACCOUNTING DEPT., WHEN A
WIRE IS EXPECTED SO, UPON RECEIPT OF THE WIRE, PROPER IDENTIFICATION CAN BE MADE.




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